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                       UNITED STATES DISTRICT COURT
6                     WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE
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     PLAINTIFF PACITO; PLAINTIFF                CASE NO. 2:25-cv-255-JNW
8    ESTHER; PLAINTIFF JOSEPHINE;
     PLAINTIFF SARA; PLAINTIFF                  ORDER DENYING DEFENDANTS’
9    ALYAS; PLAINTIFF MARCOS;                   MOTION TO RECONSIDER
     PLAINTIFF AHMED; PLAINTIFF
10   RACHEL; PLAINTIFF ALI; HIAS,
     INC.; CHURCH WORLD SERVICE,
11   INC., and LUTHERAN COMMUNITY
     SERVICES NORTHWEST,
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                         Plaintiffs,
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           v.
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     DONALD J. TRUMP, in his official
15   capacity as President of the United
     States; MARCO RUBIO, in his official
16   capacity as Secretary of State; KRISTI
     NOEM, in her official capacity as
17   Secretary of Homeland Security;
     ROBERT F. KENNEDY, JR., in his
18   official capacity as Secretary of Health
     and Human Services,
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                         Defendants.
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1           This matter comes before the Court on Defendants’ Motion to Reconsider

2    Denial of Stay and Motion for an Indicative Ruling. Dkt. No. 94. Having considered

3    the motion, the relevant record, the argument of counsel, and the applicable legal

4    standard, the Court DENIES the motion.

5           This dispute arises from the Government’s interpretation of the Ninth

6    Circuit’s order partially staying this Court’s first preliminary injunction. A brief

7    review of the procedural history is warranted.

8           On February 25, 2025, this Court issued a preliminary injunction prohibiting

9    the Government from implementing Executive Order 14163, which suspended

10   refugee admissions and funding for the United States Refugee Assistance Program

11   (USRAP) (“First Injunction”). Dkt. No. 45. The Government appealed the order to

12   the Ninth Circuit and sought a stay pending appeal. Dkt. No. 46.

13          On March 24, 2025, while that appeal was pending, this Court issued a

14   second preliminary injunction (“Second Injunction”) enjoining the Government from

15   terminating its cooperative agreements with refugee resettlement organizations.

16   Dkt. No. 79. This Second Injunction addressed agency actions taken after the First

17   Injunction. Id. at 7.

18          A day later, on March 25, 2025, the Ninth Circuit partially stayed the First

19   Injunction, denying the Government’s request “to the extent the district court’s

20   preliminary injunction order applies to individuals who were conditionally approved

21   for refugee status by the United States Citizenship and Immigration Services before

22   January 20, 2025,” while granting the stay “[i]n all other respects.” Pacito v. Trump,

23   No. 25-1313 (9th Cir. Mar. 25, 2025), Dkt. No. 28.


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1          Citing this partial stay, the Government moved to stay the Second

2    Injunction. Dkt. No. 82. This Court denied that motion on April 4, 2025. Dkt. No.

3    92. The Government now asks the Court to reconsider, arguing that the Court

4    misinterpreted the Ninth Circuit’s order. Dkt. No. 94. According to the Government,

5    the Ninth Circuit merely preserved “conditional approval” status as a legal

6    designation while staying all aspects of the First Injunction that would require

7    processing, admissions, or funding for these individuals. Id. at 3–4.

8          In this district, “[m]otions for reconsideration are disfavored” and they are

9    ordinarily denied absent a showing of “manifest error in the prior ruling or a

10   showing of new facts or legal authority which could not have been brought to [the

11   court’s] attention earlier with reasonable diligence.” Local Rules W.D. Wash. LCR

12   7(h)(1). The Government has not made such a showing.

13         Interpreting an appellate court’s order is not always straightforward,

14   especially when the order is brief despite many moving pieces at issue. Perhaps it is

15   not surprising that the Government interpreted the Ninth Circuit’s order as it did,

16   given the order’s statement that this Court’s injunction was stayed “[i]n all other

17   respects.” Pacito, No. 25-1313, Dkt. No. 28 at 2. But the most natural reading of the

18   Ninth Circuit’s order supports this Court’s interpretation, not the Government’s.

19         Beginning with what the Ninth Circuit actually wrote, the court denied the

20   Government’s stay request “to the extent the district court’s preliminary injunction

21   order applies to individuals who were conditionally approved for refugee status”

22   before January 20, 2025. Id. at 1. That language preserves the mandates of the

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1    First Injunction for conditionally approved refugees—not merely the abstract

2    designation of their status.

3          Context reinforces this conclusion. The Ninth Circuit explained that

4    “Executive Order No. 14163 does not purport to revoke the refugee status of

5    individuals who received that status under the United States Refugee Admissions

6    Program prior to January 20, 2025.” Id. This rationale illuminates the Circuit

7    Court’s intent: the First Injunction remains in force for conditionally approved

8    refugees because the Executive Order did not purport to revoke their status.

9          The Government’s interpretation would reduce the Ninth Circuit’s carveout

10   to just a formality. If the Circuit intended only to preserve a hollow designation

11   while permitting the Government to suspend all processing, admissions, and

12   support for conditionally approved refugees, one would expect the court to say so. It

13   did not. The better reading is that when the Ninth Circuit preserved the First

14   Injunction as it applies to conditionally approved refugees, it necessarily preserved

15   the protections that give that status meaning, including continued processing and

16   the services required to realize their admission. Otherwise, what purpose would be

17   served by recognizing the carveout in the first place? This Court declines to read the

18   Ninth Circuit’s order in a manner that would render its carveout practically

19   meaningless.

20         The Court acknowledges the Government’s textual argument based on the

21   phrase “in all other respects.” Dkt. No. 94 at 3–4. But that phrase is most naturally

22   read as referring to all aspects of the First Injunction not related to conditionally

23   approved refugees. Had the Ninth Circuit intended to protect only the “conditionally


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1    approved” label, as the Government suggests, without any practical effect—without

2    allowing continued processing, travel arrangements, or resettlement services for

3    these individuals—it would have said so explicitly. The Ninth Circuit could have

4    written: “The motion is denied only to the extent it would revoke conditional

5    approval designations; the preliminary injunction is stayed as to all other aspects of

6    USRAP funding, case processing, and refugee admission, including for conditionally

7    approved refugees.” But that is not what the order states.

8           The Government’s reliance on Trump v. Hawaii does not advance its position.

9    See id. at 4. The Ninth Circuit cited that case to explain why it was staying the

10   injunction as to future refugee applicants. Pacito, No. 25-1313, Dkt. No. 28 at 2. But

11   by carving out conditionally approved refugees, the court apparently determined

12   that Trump v. Hawaii did not justify staying the injunction as to those individuals.

13   This makes sense because the Ninth Circuit’s order must be understood in light of

14   the irreparable harms this Court identified in its First Injunction order. Many

15   conditionally approved refugees had already made life-altering decisions based on

16   their approvals—selling possessions, giving up housing and employment, making

17   travel arrangements. The Ninth Circuit’s carveout logically protects these

18   individuals from the most serious irreparable harms identified in this Court’s

19   findings of fact.

20          Lastly, the Government also urges this Court to rethink the Second

21   Injunction given the Supreme Court’s recent opinion in Department of Education v.

22   California, 604 U.S. ___ (2025). The Government’s argument is unavailing, as this

23   days-old opinion announces no new rule of law that would cast doubt on this Court’s


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1    carefully reasoned Second Injunction order. Dkt. No. 79. Instead, it only reaffirms

2    the long-standing rule—overtly recognized by this Court, see id. at 9–10—that “the

3    [Administrative Procedure Act’s] limited waiver of immunity does not extend to

4    orders ‘to enforce a contractual obligation to pay money[.]’” Dep’t of Educ., 604 U.S.

5    at ___ (quoting Great-West Life & Annuity Ins. Co. v. Knudson, 534 U. S. 204, 212

6    (2002)). While the Supreme Court found that the district court’s temporary

7    restraining order in Department of Education v. California was likely such an

8    order—and thus not reviewable under the APA—the same finding does not apply

9    here.

10           As this Court’s Second Injunction order explained, Plaintiffs here assert

11   rights derived from statutory mandates, not contractual promises, and seek

12   equitable enforcement of statutory obligations, not contractual remedies. Dkt. No.

13   79 at 11–14. The individual refugee plaintiffs are not parties to any contract with

14   the government. Id. at 11. And there are serious questions about whether the Court

15   of Federal Claims even has jurisdiction to hear disputes over the grants and

16   cooperative agreements at issue here. Id. at 9–10.

17           While binding authority in that case, the emergency posture and limited

18   analysis make Department of Education v. California an inappropriate basis for

19   reconsidering the Second Injunction in this case. See Dep’t of Educ. v. California,

20   604 U.S. at ___ (Jackson, J., dissenting) (noting the “risk of error” that “increases

21   when this Court decides cases” on its emergency docket with “barebones briefing, no

22   argument, and scarce time for reflection”); Labrador v. Poe, 144 S. Ct. 921, 928

23   (2024) (Kavanaugh, J., concurring) (explaining that emergency applications require


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1    the Court to “assess the merits of important cases earlier and more quickly than is

2    ordinarily preferable, and to do so without the benefit of full merits briefing and

3    oral argument”).

4          Accordingly, the Government’s Motion for Reconsideration is denied. Dkt. No.

5    94. The Government has presented a defensible, if ultimately unpersuasive, reading

6    of the Ninth Circuit’s partial stay order. But this Court must interpret that order

7    according to its most natural meaning and will not guess at what the Circuit meant

8    beyond what it wrote. The Court notes that the Government has sought clarification

9    from the Ninth Circuit regarding its stay order, which is the appropriate forum for

10   resolving any ambiguity in that court’s directive. See Ninth Circuit Rule 27-10

11   (governing motions for reconsideration, modification, and clarification).

12         Until the Ninth Circuit provides further guidance, this Court’s interpretation

13   of the stay order stands: individuals conditionally approved before January 20,

14   2025, remain protected in full by the First Injunction, meaning the Government

15   must continue processing, admitting, and providing resettlement support to them—

16   and funding USRAP partners to the extent necessary to do so— consistent with this

17   Court’s previous order.

18         Dated this 9th day of April, 2025.

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20                                                  Jamal N. Whitehead
                                                    United States District Judge
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